          Entered on Docket November 17, 2020                  Below is the Order of the Court.




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 1                                                             Timothy W. Dore
                                                               U.S. Bankruptcy Court
 2                                                             (Dated as of Entered on Docket date above)

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                            UNITED STATES BANKRUPTCY COURT
10                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
     IN RE:
11                                                            Case No. 19-13103 - TWD
     Melin Rodriguez,
12                                                            Chapter: 13
                                   Debtor.
13                                                           ORDER GRANTING
14                                                           MODIFICATION OF CONFIRMED
                                                             CHAPTER 13 PLAN
15

16            THIS MATTER came before the Court on the Debtor(s) motion for post-confirmation
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     approval of the amended plan (“Motion”). The Court has considered the Motion, the records and
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     files in this case, and the oral argument, if any, and found good cause to grant the Motion.
19
              1. The amended plan [Docket No. 71] (“Amended Plan”) shall become the plan, pursuant
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     to 11 U.S.C. § 1329(b).
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22            2. The terms of the previously entered Order Confirming Chapter 13 Plan shall continue

23   to apply except to the extent such terms are inconsistent with the Amended Plan.
24                                           /// End of Order ///
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        Presented by:
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     ORDER - 1


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       _/s/ Christina L Henry
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     ORDER - 2


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